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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,                Civ. Action No. ______________
and STATE OF NEW YORK
                                         COMPLAINT FILED UNDER SEAL
ex rel. [UNDER SEAL],                    PURSUANT TO 31 U.S.C. § 3730(b)2

                   Plaintiffs,           DEMAND FOR JURY TRIAL

            v.

[UNDER SEAL],

                   Defendants.
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,                              Civ. Action No. ______________
and STATE OF NEW YORK,
                                                       COMPLAINT FILED UNDER SEAL
ex rel. JEAN NOLAN,                                    PURSUANT TO
                                                       31 U.S.C. § 3730(b)2
                       Plaintiffs,
                                                       DEMAND FOR JURY TRIAL
               v.

ELDERWOOD HEALTH CARE AT
LINWOOD, ELDERWOOD SENIOR CARE,
INC., POST ACUTE PARTNERS, AND DOES
1-100,

                       Defendants.


                                         COMPLAINT

       On behalf of the United States of America and the State of New York, Relator Jean

Nolan files this qui tam Complaint against Defendants Elderwood Health Care At Linwood

(“Linwood”), Elderwood Senior Care, Inc. (“Elderwood”), Post Acute Partners (“PAP”), and

Does 1-100 (individually, or collectively “Defendants”), and allege as follows:

                                       INTRODUCTION

       1.      This is an action to recover treble damages and civil penalties on behalf of the

United States of America and the State of New York in connection with a scheme designed to

manipulate Medicare and other government funded insurance programs in order to fraudulently

bill the government for skilled nursing and rehabilitation services, in violation of these programs’




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requirements and regulations and in violation of the Federal False Claims Act, 31 U.S.C. §§

3729 et seq., as amended (the “FCA”), and the New York False Claims Act, N.Y. Fin. Law §§

187-194 (the “NY FCA”).

       2.      While working as a Licensed Practical Nurse (“LPN”) at Elderwood Health Care

at Linwood, relator Jean Nolan (“Relator” or “Nolan”) personally observed numerous unlawful

and fraudulent practices implemented by Defendants to maximize Medicare and Medicaid

payments at the physical expense of patients and at great cost to the government.

       3.      Defendants in this action are healthcare providers which administer skilled

nursing, long term care, and rehabilitation services to patients covered by the federally and state

funded health insurance programs, Medicare, as well as Medicaid and TRICARE.

       4.      Nolan personally observed Defendants’ knowing, fraudulent practices regarding

the admission of patients into rehabilitation programs by leveraging relationships with hospitals

to funnel patients to Linwood and admit patients who did not meet the criteria for rehabilitation

under CMS guidelines.

       5.      Upon admission, Defendants’ staff physicians regularly failed to properly assess

patients’ conditions and individualized needs and failed to prescribe an appropriate level of

treatment, as required by the government funded health care programs. Instead, in accordance

with Linwood policy, all patients were admitted at the highest, and most expensive, level of

treatment initially, with the expectation that they would be seen by a physical therapist within 24

hours. The physical therapists, rather than a physician, then prescribed the level of care for each

individual patient. Linwood physicians routinely rubber stamped these evaluations and

prescriptions of care.




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       6.      During the course of her employment at Linwood, Relator personally observed

the regular manipulation of applicable Medicare and Medicaid requirements in order to inflate

billings to the government through the submission of false claims. To do so, Defendants

regularly provided services for the “treatment” of patients that were not medically reasonable or

necessary. In most cases, Defendants indiscriminately shuffled patients between long term care

and rehabilitation programs in order to take advantage of higher rehabilitation rates, without

regard to particular patients’ needs or conditions.

       7.      Defendants also held patients with improved conditions for whom rehabilitation

was no longer medically necessary or reasonable, or a particular level of care was no longer

appropriate, in order to bill at higher rates for as long as possible, and billed for wholly

inadequate services that do not qualify for reimbursement under the government funded health

insurance programs.

       8.      Finally, Nolan personally observed the provision of services that did not qualify

for reimbursement as “skilled” under Medicare and Medicaid guidelines, but were fraudulently

billed as skilled nursing services by Defendants anyway.

       9.      Throughout 2013 to present, Defendants routinely submitted false claims to

Medicare, Medicaid, and TRICARE for reimbursement of these non-existent or non-

reimbursable services performed at Linwood, and, based on Elderwood’s lack of internal

controls, throughout the other Elderwood facilities as well.

       10.     Beginning around October 2013, Nolan complained about violations to

supervisors at Linwood and Defendants’ corporate office. As a result of her complaints and her

refusal to engage in illegal practices, Nolan was fired on or about April 29, 2014. In sum,

Defendants’ fraudulent conduct and violations of the false claims acts of the United States and of



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New York, the Federal Government and the State of New York have suffered substantial

damages.

                                           PARTIES

       11.     Defendant Elderwood Health Care at Linwood in Lancaster, New York

(“Linwood”) is a nursing home which provides skilled nursing and sub-acute rehabilitation

therapy, among other programs. Linwood is located at 1818 Como Park Boulevard, Lancaster,

NY 14086.

       12.     Defendant Elderwood is a health care management firm which operates in New

York and has provided skilled nursing under that name since 1978. Elderwood maintains 17

facilities in Western New York where it provides rehabilitation and skilled nursing services in

assisted living and independent living communities for more than 5,000 people each year.

       13.     Defendant PAP is headquartered in New York and is a privately held company

which owns and operates post acute healthcare facilities in New York, Rhode Island,

Pennsylvania, and Massachusetts. As part of its holdings, PAP owns and operates companies

that provide skilled nursing and inpatient rehabilitation, in New York and Rhode Island. In

2013, PAP acquired nearly all of Elderwood’s facilities for approximately $140 million.

       14.     Plaintiff is unaware of the true names of certain defendants sued herein under the

fictitious names Does 1-100, and will seek leave to amend this complaint to sue such parties by

their actual names at such time as plaintiffs become aware of them.

                                   JURISDICTION AND VENUE

       15.     This Court has jurisdiction over the subject matter of this False Claims Act action

pursuant to 28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), which confers jurisdiction on this Court

for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. This Court has jurisdiction over the



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subject matter of the NY FCA action pursuant to 28 U.S.C. § 1367 and 31 U.S.C. § 3732(b)

because the NY FCA action arises from the same transactions or occurrences as the FCA action.

        16.      This Court has personal jurisdiction over the defendants pursuant to 31 U.S.C. §

3732(a), which provides that “[a]ny action under section 3730 may be brought in any judicial

district in which the defendant or in the case of multiple defendants, any one defendant can be

found, resides, transacts business or in which any act proscribed by section 3729 occurred.”

Section 3732(a) also authorizes nationwide service of process. During the time period relevant

to this Complaint, each of the defendants resided and transacted business in the Western District

of New York, and most of the violations of 31 U.S.C. § 3729 described herein occurred within

this judicial district.

        17.      Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because each of

the defendants can be found in, reside in, and transact business in the Western District of New

York and many of the violations of 31 U.S.C. § 3729 described herein occurred within this

judicial district.

        18.      In accordance with 31 U.S.C. § 3730(b)(2), this Complaint has been filed in

camera and will remain under seal for a period of at least 60 days and shall not be served on the

Defendants until the Court so orders.

        19.      Pursuant to 31 U.S.C. § 3730(b)(2), the Relator must provide the Government

with a copy of the Complaint and/or a written disclosure of substantially all material evidence

and material information in their possession contemporaneous with the filing of the Complaint.

Relator has complied with this provision by serving copies of this Complaint upon the Honorable

William J. Hochul, Jr., United States Attorney for the Western District of New York, and upon

the Honorable Eric H. Holder, Attorney General of the United States.



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                                      GENERAL ALLEGATIONS

I.     FEDERALLY FUNDED HEALTH INSURANCE PROGRAMS

       A.        Medicare

                 1)     Medicare Background

       20.       Medicare is a federally-funded health insurance program for the elderly and

persons with certain disabilities, providing both hospital insurance, Medicare Part A, which

covers the cost of inpatient hospital services and post-hospital nursing facility care, and medical

insurance, Medicare Part B, which covers the cost of the physician’s services such as services to

patients who are hospitalized, if the services are medically necessary and personally provided by

the physician.

       21.       Medicare payments come from the Medicare Trust Fund, which is funded

primarily by payroll deductions taken from the United States work force through mandatory

Social Security deductions.

       22.       Medicare is generally administered by the Centers for Medicare and Medicaid

Services (“CMS”), which is an agency of the Department of Health and Human Services. CMS

establishes rules for the day-to-day administration of Medicare. CMS contracts with private

companies to handle day-to-day administration of Medicare.

       23.       CMS, through contractors, maintains and distributes fee schedules for the

payment of physician services. These schedules specify the amounts payable for defined types

of medical services and procedures.

       24.       The Medicare Benefit Policy Manual defines skilled services as follows:

       [s]killed nursing and/or skilled rehabilitation services are those services, furnished
       pursuant to physician orders, that:

                       Require the skills of qualified technical or professional health personnel
                        such as registered nurses, licensed practical (vocational) nurses,

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                      physical therapists, occupational therapists, and speech-language
                      pathologists or audiologists; and

                     Must be provided directly by or under the general supervision of these
                      skilled nursing or skilled rehabilitation personnel to assure the safety of
                      the patient and to achieve the medically desired result.

Medicare Benefit Policy Manual § 30.2.1.

       25.     Subject to conditions, Medicare Part A covers up to 100 days of skilled nursing

and rehabilitation per benefit period. 42 U.S.C. § 1395(a)(2)(A); 42 C.F.R. § 409.61(b), (c);

Centers for Medicare & Medicaid Services, “Medicare Coverage of Skilled Nursing Facilities,”

§2: Medicare SNF Coverage, at 18.

       26.     For treatment in a skilled nursing or skilled rehabilitation facility to be covered by

Part A, all of the following conditions must be met:

       (1)     “The patient requires skilled nursing services or skilled rehabilitation
               services . . . ; are ordered by a physician and the services are rendered for a
               condition for which the patient received inpatient hospital services or for a
               condition that arose while receiving care in a [skilled nursing facility] for a
               condition for which he received inpatient hospital services”;

       (2)     The patient requires skilled services on a daily basis;

       (3)     The services required by the patient can only be provided by a skilled nursing
               facility; and

       (4)     The services are medically reasonable and necessary, “i.e., are consistent with the
               nature and severity of the individual’s illness or injury, the individual’s particular
               medical needs, and accepted standards of medical practice. These services must
               also be reasonable in terms of duration and quantity.”

Medicare Benefit Policy Manual Ch. 8, § 30; 42 U.S.C. § 1395(a)(2)(B); 42 C.F.R. § 409.31(b).

       27.     In addition, Medicare Part A will only cover services which are medically

reasonable and necessary. See 42 U.S.C. § 1395y(a)(1)(A); see also 42 U.S.C. § 1320c-5(a)(1);

42 U.S.C. § 1320c-5(a)(2).




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          28.   Medicare uses a pre-determined daily rate under its prospective payment system

(“PPS”) for skilled nursing and rehabilitation services provided to qualifying patients. See 63

Fed. Reg. 26,252, 26,259-60 (May 12, 1998).

          29.   On whether a nursing service is skilled, the Medicare Benefit Policy Manual

provides: “If the inherent complexity of a service prescribed for a patient is such that it can be

performed safely and/or effectively only by or under the general supervision of skilled nursing or

skilled rehabilitation personnel, the service is a skilled service; e.g., the administration of

intravenous feedings and intramuscular injections; the insertion of suprapubic catheters; and

ultrasound, shortwave, and microwave therapy treatments.” Medicare Benefit Policy Manual §

30.2.2.

          30.   The Medicare Benefit Policy Manual explains the difference between skilled and

non-skilled physical therapy as follows: “When services can be safely and effectively performed

by supportive personnel, such as aides or nursing personnel, without the supervision of a

physical therapist, they do not constitute skilled physical therapy. Additionally, services

involving activities for the general good and welfare of the patient (e.g., general exercises to

promote overall fitness and flexibility and activities to provide diversion or general motivation)

do not constitute skilled physical therapy.” Medicare Benefit Policy Manual § 30.4.1.

          31.   Medicare pays nursing facilities a pre-determined daily rate per its prospective

payment system (“PPS”), which depends, in part, on a patient’s Resource Utilization Group

(“RUG”). See 63 Fed. Reg. 26,252, 26,259-60 (May 12, 1998); see also 70 Fed. Reg. 45,026,

45,031 (Aug. 4, 2005). There are five general RUG levels for rehabilitation therapy: Rehab

Ultra High, Rehab Very High, Rehab High, Rehab Medium, and Rehab Low.




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       B.       Medicaid

       32.      Medicaid is a state and federal assistance program to provide payment of medical

expenses for low-income patients. Medicaid was created in 1965 in Title XIX of the Social

Security Act.

       33.      Funding for Medicaid is shared between the federal government and state

programs that choose to participate in Medicaid.

       34.      At all relevant times to the Complaint, applicable Medicaid regulations relating to

coverage of claims by providers and physicians have been substantially similar in all material

respects to the applicable Medicare provisions described above.

       C.       TRICARE

       35.      TRICARE is a federal program which provides civilian health benefits for

military personnel, military retirees, and their families. TRICARE is administered by the

Department of Defense and funded by the federal government.

       36.      At all relevant times to the Complaint, applicable TRICARE regulations relating

to coverage of claims by providers and physicians have been substantially similar in all material

respects to the applicable Medicare provisions described above.

       37.      Medicare, Medicaid, and TRICARE, and other similar federal programs are

referred to collectively herein as “federal health insurance programs.”

                                     SPECIFIC ALLEGATIONS

       38.      Relator Nolan is an experienced LPN who has worked in the industry for over 14

years. Throughout that time, she has worked at multiple facilities, including facilities which

provide skilled nursing care and required knowledge of applicable regulations.

       39.      In April of 2013, Nolan began working as a nurse on the night shift at Linwood

on a per diem basis. Approximately two weeks later, Nolan began working as a full-time LPN

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on night shifts at Linwood. Throughout the course of her employment at Linwood, she

personally observed the following fraudulent practices:

                     Patient admissions into rehabilitation programs. Defendants admit
                      patients who did not meet the criteria for rehabilitation programs and bill for
                      those services. In addition, Defendants’ doctors did not actually assess
                      patients’ conditions and individualized needs and prescribe an appropriate
                      level of treatment, as required by the government funded health care
                      programs, resulting, effectively, in the blind approval of patients for more
                      expensive care.

                     Fraudulent manipulation of applicable requirements to “treat” patients
                      for whom services were not medically reasonable or necessary.
                      Defendants improperly shuffle patients between long term care and
                      rehabilitation programs in order to take advantage of higher rehabilitation
                      rates. Defendants also held patients for whom rehabilitation was no longer
                      medically necessary or reasonable to be able to bill at those higher rates for
                      as long as possible. In addition, Defendants would not provide or would
                      inadequately provide rehabilitation services for which they billed.

                     Defendants fraudulently billing for skilled nursing services. Defendants
                      inflated what they billed Medicare, Medicaid, and TRICARE by billing for
                      skilled nursing services when those providing the services were unqualified
                      and/or unsupervised to provide the services or treatment.

        40.       As a result of these fraudulent practices, described in more detail below,

Defendants have submitted false billings to the government funded health care programs in

violation of the FCA and NY FCA.

II.     FRAUDULENT PRACTICES WITH REGARD TO PATIENT ADMISSION IN
        REHABILITATION PROGRAMS

        41.       Defendants leverage relationships with hospitals in order to funnel patients into

their programs without regard to whether those patients meet the applicable criteria for

rehabilitation.

        42.       Defendants had an unwritten policy: “fill the beds” and justify admission later.

Officially, the facility mandated that all patients were admitted to the hospital at “Total Assist of

Two,” the highest and most expensive level of treatment, irrespective of their condition, and


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were required to see a physical therapist, not a doctor, within 24 hours of admission. The

physical therapist then determined the appropriate level of care for the patient, who had already

been admitted, scaling back the level of care from “Total Assist of Two” if necessary. Relator is

not aware of any doctors employed by Defendant questioning a physical therapists’ diagnosis or

prescription of treatment; rather, Linwood physicians routinely rubber stamp patients’ charts

without properly evaluating those patients, as required.

       43.     By admitting patients without proper evaluations at the highest level of treatment,

Defendants violated regulations under Medicare as well as New York State law, and inflated

billings to federal and New York State funded health care programs in violation of the False

Claims Acts.

       A.      Admitting patients who do not meet the criteria for rehabilitation programs
               and billing for those services

       44.     PAP owns and operates Elderwood facilities, including the facility at Linwood

and employs internal personnel in charge of marketing for all of the facilities.

       45.     In this role, the marketing team is in charge of patient recruiting from other

hospitals and facilities throughout New York and oversees Elderwood’s patient recruiting effort.

       46.     Elderwood’s patient recruiting is premised on relationships with hospitals

throughout New York in order to funnel patients into Elderwood’s rehabilitation programs,

irrespective of whether those patients meet the applicable Medicare eligibility criteria set forth in

42 U.S.C. § 1395(a)(2)(A) and 42 C.F.R. § 409.61(b), (c).

       47.     Elderwood routinely wrongfully admits patients into the rehabilitation program

who could not participate in or benefit from rehabilitation such as elderly patients, patients

suffering from dementia, and those who were too sick to meet the rigorous daily rehabilitation

requirements under Medicare and Medicaid.


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       48.      For example, Elderwood admitted Patient A into its rehabilitation program even

though she suffered from debilitating cancer with limited mobility and no chance of physical

improvement. Patient A could not swallow and weighed approximately seventy five pounds at

six feet tall. She remained in rehab until she accrued the maximum covered 100 days under

Medicare, when she was immediately placed in hospice and died approximately two weeks later.

       49.      Relator is personally aware that Elderwood admitted numerous patients to its

rehabilitation program despite being too frail from old age, or too weak due to illness. These

patients could not and often did not regularly participate in any effective rehabilitation, yet

Elderwood admitted and billed for them anyway.

       50.      By admitting and billing the government for the treatment of patients who did not

meet the applicable eligibility criteria, Defendants submitted and caused the government to pay

false claims.

       B.       Defendants caused doctors to rubber stamp placements in the higher billed
                rehabilitation instead of actually assessing patients, as required

       51.      A physician or other qualified practitioner must certify and re-certify that

Medicare eligibility criteria are satisfied. 42 U.S.C. § 1395(a)(2)(B); Medicare General

Information, Eligibility, and Entitlement Manual, Ch. 4, § 40.3.

       52.      Under New York State law, “[u]pon admission and periodically thereafter,” a

facility must conduct “comprehensive, accurate, standardized, reproducible” assessments of

patients’ functional capacity and use those assessments as the basis for individualized

comprehensive care plans tailored to each residents’ needs. Public Health Law § 2803(2),

section 415.11. The assessments must include, among other things, the patients’ discharge

potential and rehabilitation potential. Id.




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       53.     Once a recruited patient was directed to an Elderwood facility, however, doctors

failed to perform the required evaluation to determine eligibility. Physicians commonly signed

certifications without evaluating the patients.

       54.     Instead, doctors sign-off on their admission for treatment without regard to the

patients’ condition.

       55.     Often, doctors signed-off on admissions without even meeting with or evaluating

the patient at all. Rather, as discussed above, physical therapists met with patients, evaluated

their condition, and prescribed a level of treatment for them during their stay at the facility.

Doctors simply reviewed the patient charts, in many cases, and signed off on the physical

therapists’ prescription of care without conducting a proper evaluation.

       56.     Relator Nolan personally observed that patients were admitted and treated who

were clearly ineligible for rehabilitation. Moreover, once admitted, the treatment plan was not

tailored or adjusted. Based on her experience, and independent assessments, doctors could not

have evaluated many of the admitted patients because those patients so clearly were not eligible

for rehab due to their deteriorating, and in some cases terminal, condition.

       57.     For example, Patient B was a patient in her 80’s with bilateral pneumonia who

was admitted into the rehabilitation program. She was so sick that just days after her admission

she was transferred back to the hospital. Patient B’s admission into the rehabilitation program

indicates either that no doctor evaluated her, or that a doctor evaluated her and placed her into

the rehabilitation program even though she was severely ill and could not participate in or benefit

from rehabilitation services. Patient B should not have been admitted to rehab, and Medicare

should not have paid for her treatment because she was not eligible.




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        58.     In another example, Patient C had a broken ankle but was otherwise self sufficient

and mobile with the use of a wheel chair. Patient C’s mobility even allowed him to frequently to

run off-site errands with weekend passes. Due to the cast on his foot, however, Patient C could

not effectively participate in rehabilitation. Notwithstanding, Defendants kept Patient C in the

rehabilitation program, billing the government for his treatment.

        59.     Relator is personally aware of numerous other examples of patients admitted to

Elderwood that were not or could not have been properly evaluated by a physician. If they had,

the physician would have determined that, at least at the time of admission, those patients were

not eligible for rehabilitation services.

        60.     By failing to provide required assessments, Defendants billed the government for

more expensive treatments which were neither medically reasonable nor necessary in light of the

patients’ actual condition.

        61.     Despite these improper admissions, Defendants continued to fraudulently bill for

the patients’ care, submitting false claims to the Government in violation of the false claims acts.

III.    MANIPULATING REQUIREMENTS TO TREAT PATIENTS FOR WHOM
        SERVICES WERE NOT MEDICALLY REASONABLE OR NECESSARY

        62.     As stated above, Medicare Part A covers up to 100 days of skilled nursing and

rehabilitation per benefit period subject to certain conditions. 42 U.S.C. § 1395(a)(2)(A); 42

C.F.R. § 409.61(b), (c).

        63.     A condition of coverage is that care must be medically reasonable and necessary,

including with regard to duration and quantity of treatment. See Medicare Benefit Policy

Manual, Ch. 8, § 30. Generally, services or treatments are medically reasonable or necessary if

they “are consistent with the nature and severity of the individual’s illness or injury, the




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individual’s particular medical needs, and accepted standards of medical practice,” and are

reasonable in duration and quantity. Medicare Benefit Policy Manual, Ch. 8, § 30.

        64.    Defendants routinely billed the government for care that was not neither

reasonable nor medically necessary under CMS guidelines in violation of the false claims act.

        A.     Improperly shuffling patients between long term care and rehabilitation
               programs in order to take advantage of higher rehabilitation billing rates

        65.    Defendants engaged in a scheme to maximize the number of days it billed

Medicare, Medicaid, and TRICARE for rehabilitation services, which is reimbursed at a higher

rate than long term care.

        66.    On the date that funding is reissued, Defendants put patients back in the

rehabilitation program for an additional one hundred days, irrespective of their condition.

        67.    Medicare requires that a doctor or other qualified practitioner certify and re-

certify on a regular basis that a patient needs skilled rehabilitation services. See 42 U.S.C. s.

1395f(a)(2)(B); see also Medicare General Information, Eligibility, and Entitlement Manual, Ch.

4, § 40.3.

        68.    Once admitting a patient into skilled rehabilitation care, doctors employed by

Defendants failed to re-certify or fraudulently re-certified their need for ongoing care.

        69.    Instead, admitted patients were left in skilled rehabilitation for the maximum

amount of covered days without regard to their individualized needs. As soon as the particular

patient had finished his or her allotted coverage for rehabilitation, Defendants moved that patient

into long term care irrespective of the patient’s particular needs. Many patients still at the

facility at the time their rehabilitation coverage was reissued were immediately placed back into

the higher billed rehabilitation program.




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       70.     For example, Patient D was a patient in her late 70’s who was placed in the

rehabilitation program until she reached the maximum coverage even though she did not require

those services. She was immediately placed in long term care as soon as she no longer had

rehabilitation coverage under Medicare. Patient D was walking with a walker during the time

she was in the rehabilitation program but rapidly declined within a matter of days to the point

that she required total assistance from two nurses to handle every menial task. Patient D’s

daughter spoke with Relator and requested that her mother be placed in the rehabilitation

program to allow her mother to regain mobility and a level of independence. Relator sent a note

to Defendants relaying the request. Unknown to Patient D, Linwood had needlessly and

recklessly used all of the allocated days for rehabilitation coverage, precluding her from

obtaining treatment when she actually needed it.

       71.     Defendants’ treatment decisions were governed by the availability of coverage for

more expensive treatment. The type of services provided, whether rehabilitation or skilled

nursing, were indicated by the color of patients’ charts. This practice was so pervasive that staff

would joke about the changing colors of charts depending on the time of year.

       72.     By keeping patients in skilled rehabilitation for the maximum amount of covered

days without regard to their individualized needs, Defendants caused the government to pay for

services that were neither medically reasonable nor necessary through the submission of false

claims. Defendants also caused physical harm to patients by putting their own financial gain

above the individualized needs of patients.




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        B.      Improperly holding patients for whom rehabilitation was no longer
                medically necessary or reasonable and billing at higher, inaccurate rates for
                as long as possible

        73.     Defendants routinely required patients to remain in their rehabilitation program

for the maximum time permitted under federal regulations in order to bill at the higher

rehabilitation rate.

        74.     Defendants accomplished this by routinely billing for one hundred days of

rehabilitative care – the maximum amount permitted – irrespective of the patients’ actual

condition or diagnosis.

        75.     In addition, Defendants billed for services which a patient could not reasonably be

expected to participate in or benefit from, in light of their individual condition. For example, as

discussed above, Defendants billed for Patient A’s rehabilitation treatment even though once she

reached the maximum amount of coverage, she was placed in hospice and died approximately

two weeks later.

        76.     Defendants also routinely billed for treatment that was well beyond that required

by the patient. Defendants had a practice of rarely, if ever, designating a patient as being

“independent” until the day they were discharged from the facility.

        77.     Relator estimates that approximately 90% of patients in the rehabilitation program

remained at a the higher level of “supervision” when, in fact, they were functioning at

“independent,” necessitating a lower, and less expensive, level of care.

        78.     For example, Patient E was cleared for discharge and was fully mobile and

independent. However, Patient E remained in the rehabilitation program for an additional five

days, even though she was up and walking around the room and informed Relator that she did

not need any help. Elderwood kept Patient E longer than necessary in order to continue billing

the Government for her care.

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       79.     Defendants maintained an internal system for charting and billing patients that

indicated the level of intensity and supervision for a particular patient’s care. Under this system,

Elderwood staff determined the level of care at admission based on the patient’s condition and

designated the patient on the following categories: (1) Independent; (2) Supervision; (3) Limited

Assist of One; (4) Limited Assist of Two; (5) Total Assist of One; and, (6) Total Assist of Two.

The more assistance required, the higher the billable rate – total assist of two meaning that the

patient needed two nurses to assist with nearly every task that required the patient to get out of

bed.

       80.     Relator is personally aware that under this system, Defendants not only routinely

inflated that level of care required for patients, but regularly ignored patient improvement,

keeping patients at their initial designation throughout the course of their stay. Defendants’

conduct resulted in numerous patients receiving well above the standard of care reasonable and

necessary to treat their condition.

       81.     In one example, Patient F was an overweight patient in her mid-forties who

needed the assistance of one person to assist with bed mobility. Notwithstanding, Defendants

designated Patient E at Total Assist of 2, needlessly requiring the complete assistance of two

people. The Total Assist of 2 designation allowed Elderwood to bill for her care at a higher rate.

Despite Relator reporting that the patient did not need to be at Total Assist of 2, Elderwood kept

her at that level of care in order to maximize its billing of the Government.

       82.     Similarly, Defendants’ internal policies discouraged or punished nurses from

indicating improving conditions on patients’ charts. For example, if Relator found a patient

walking around independently and reflected that on the chart as an improvement, Relator would

be disciplined or “written up” for a care plan violation. Instead, Defendants required staff to



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treat those instances as patient behavioral issues who disregarded instructions. This allowed

Defendants to continue billing at higher rates.

        83.      Relator repeatedly left notes on patients’ charts and in daily reports indicating that

a patient did not require the level of care indicated on the chart, but those notes were ignored.

        84.      By keeping patients in skilled rehabilitation for the maximum amount of covered

days without regard to their individualized needs and the appropriateness of a treatment plan,

Defendants caused the government to pay for services that were neither medically reasonable nor

necessary.

        C.       Failing to Provide or Inadequately Providing Rehabilitation Services

        85.      Often during the night shift, Relator spoke with patients about their conditions,

the status of their care, and the day-to-day activities they participated in. Through these

discussions, Relator became aware that patients were not receiving meaningful rehabilitation

services or, in some instances, they were not receiving rehabilitation services at all.

        86.      For example, Nolan spoke with numerous patients being billed for rehabilitation

services who regularly told her that they had not participated in any rehabilitation activities on a

given day. Relator is aware of several patients who could not meaningfully participate in

rehabilitation due to their condition but they remained charted for and billed out as rehabilitation

patients.

        87.      Other patients informed Relator that they received sham rehabilitation as a result

of the wholly inadequate services Linwood was capable of providing due to its substandard

rehabilitation facility and equipment. For example, numerous patients informed Relator that they

only completed ten minutes of rehabilitation therapy or that they merely walked up and down a

set of stairs for the duration of their treatment on a given day.



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       88.     By providing inadequate physical therapy, Defendants caused harm to patients

and caused the government to pay for services which were either not medically reasonable or

necessary, or not in fact provided.

IV.    FRAUDULENT BILLING OF SKILLED NURSING SERVICES TO INFLATE
       WHAT DEFENDANTS BILLED MEDICARE, MEDICAID, AND TRICARE

       89.     A skilled service is one that is “so inherently complex that it can be safely and

effectively performed only by, or under the supervision of, professional or technical personnel.”

42 C.F.R. § 409.32(a); see 42 C.F.R. § 409.31(a).

       90.     Under New York State law, facilities must have sufficient nursing staff and

related services “to attain or maintain the highest practicable physical, mental, and psychological

well-being of each resident, as determined by resident assessments and individual plans of care.

The facility shall assure that each resident receives treatments, medications, diets and other

health services in accordance with individual care plans.” Public Health Law, section 415.13.

       91.     Defendants routinely billed for skilled nursing services when, in fact, qualified

practitioners were not performing those services or supervising those performing the services or

treatment. Defendants did so in order to inflate what Defendants billed Medicare, Medicaid, and

TRICARE.

       92.     Further, Relator personally observed and was required to provide skilled nursing

care and treatments required of an RN to patients without any supervision by necessity, as no

appropriate professional was available.

       93.     On a routine basis, Defendants failed to staff the facility with a practitioner

qualified to provide many skilled nursing services, particularly for night shifts. To the extent

there was an appropriate person on call, they were frequently located off site and often




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unavailable. However, Defendants would bill for skilled nursing services when there was no

person working who met the qualifications necessary to bill for certain skilled care.

       94.     For example, one night during Relator’s shift, she disagreed with the Director of

Nursing because the Director of Nursing wanted to go home and asked Relator to take the keys

to – and accompanying responsibility for – the facility’s supply of narcotics for both skilled

nursing and rehabilitation patients. Relator explained that given the limited staff, she felt she

could not handle both responsibilities if there were an emergency. The Director of Nursing

disregarded Relator’s concerns and told her that nothing would happen and to take the keys and

“step up to the plate.” That night, Patient G repeatedly asked for the evening RN and at some

point began “coding.” Relator called the RN on call, but they were on vacation and did not

respond, and called an ambulance to take her to a facility where should could receive appropriate

care. Given the severity of the emergent situation, Relator had to enlist help of aids, a nursing

student and a new graduate, because the facility was woefully understaffed with qualified

professionals that evening.

       95.     By improperly staffing its facilities and by permitting and/or requiring unqualified

professionals to provide skilled nursing services, Defendants caused harm to patients and

submitted inflated, false claims to the government as the treatment did not qualify for coverage

under CMS guidelines.

V.     RELATOR COMPLAINS ABOUT VIOLATIONS AND IS FIRED AS A RESULT

       96.     Beginning around October 2013, Relator reported a number of these violations to

supervisors and staff at Linwood, including to Defendants’ corporate office. In both cases, her

complaints were greeted with complete silence or outward hostility.




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       97.       Relator also discussed her concerns with one of her superiors at Linwood,

including the Direct of Nursing, and specifically stated that she didn’t want to do anything that

would compromise her license. The superior responded “don’t give me that license bull ****.”

       98.       As a result of her complaints and refusal to engage in illegal practices, Relator

was retaliated against. Initially, management began taking away shifts from her, resulting in a

significant loss of income. Her superiors also created a very uncomfortable working

environment for her, refusing to speak to her or reprimanding her for conduct as a pretext for her

termination. On or about April 29, 2014, Relator was finally terminated.

       99.       Relator believes that the response she received by the highest officers of the

company, and the utter lack of controls within the company, demonstrate that the conduct

described herein is much more pervasive that what she experienced at Linwood and likely

occurring company-wide.

VI.    DAMAGE SUSTAINED BY THE GOVERNMENT

       100.      By premising its treatment of Medicare, Medicaid, and TRICARE patients on

billing the maximum amount, without reference to the patient’s actual individual condition or

needs, Defendants billed significantly more than the treatment which was medically reasonable

and necessary.

       101.      Defendants’ practices ignored patient needs and were to the patients’ detriment, as

they resulted in beneficiaries unnecessarily exhausting all 100 days of covered treatment under

Part A, leaving patients with no covered option for at least 60 days if they actually needed skilled

nursing or rehabilitation care.

       102.      Based her experience at Linwood, and her understanding of corporate policy and

the operations of the other Elderwood facilities, Relator is informed and believes that the conduct



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alleged herein was not limited to Linwood, but took place at other Elderwood facilities

throughout the State of New York.

       103.    As a result of this conduct, Relator believes that Defendants have fraudulently

billed the government for tens of millions of dollars in fraudulent services.

                                        CLAIMS FOR RELIEF

                                          COUNT I
                        False Claims Act: Presentation of False Claims
                                    31 U.S.C. § 3729(a)(1)

       104.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       105.    As more particularly set forth in the foregoing paragraphs, by virtue of the acts

alleged herein, Defendants have “knowingly present[ed], or cause[d] to be presented, to an

officer or employee of the United States Government or a member of the Armed Forces of the

United States a false or fraudulent claim for payment or approval” in violation of 31 U.S.C. §

3729(a)(1).

       106.    As a result of Defendants’ acts, the United States has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the United States

is entitled to at least $5,000 and up to $11,000 for each and every violation of 31 U.S.C. § 3729

arising from Defendants’ unlawful conduct as described herein.

                                        COUNT II
                     False Claims Act: Making or Using A False Record
                or Statement to Cause Claim to be Paid 31 U.S.C. § 3729(a)(2)

       107.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       108.    As more particularly set forth in the foregoing paragraphs, by virtue of the acts

alleged herein, the Defendants have “knowingly ma[de], use[d], or cause[d] to be made or used,

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a false record or statement – i.e., the false certifications and representations made or caused to be

made by the defendants – to get a false or fraudulent claim paid or approved by the Government”

in violation of 31 U.S.C. § 3729(a)(2).

       109.    As a result of Defendants’ acts, the United States has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the United States

is entitled to at least $5,000 and up to $11,000 for each and every violation of 31 U.S.C. § 3729

arising from Defendants’ unlawful conduct as described herein.

                                           COUNT III
                                  New York False Claims Act,
                    N.Y. Fin. Law §§ 187, et seq.: Presentation of False Claims

       110.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       111.    As more particularly set forth in the foregoing paragraphs, Defendants

“knowingly present[ed], or cause[d] to be presented, to any employee, officer or agent of the

state or a local government, a false or fraudulent claim for payment or approval,” in violation of

N.Y. Fin. Law § 189.1(a)

       112.    Unaware of the falsity of claims presented or caused to be presented, the New

York state government has paid and continues to pay the claims that would not have been paid

but for the fraudulent acts and conduct of Defendants.

       113.    By reason of Defendants’ fraudulent acts, the State of New York has been

damaged, and continues to be damaged, in a substantial amount to be determined at trial.




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                                          COUNT IV
                                 New York False Claims Act,
                N.Y. Fin. Law §§ 187, et seq.: Making or Using A False Record
                           or Statement to Cause Claim to be Paid

       114.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       115.    Defendants “knowingly ma[de], use[d], or cause[d] to be made or used, a false

record or statement to get a false or fraudulent claim paid or approved by the state or local

government,” in violation of N.Y. Fin. Law § 189.1(b).

       116.    Unaware of the falsity of records or statements knowingly made, used, or caused

to be made or used by Defendants, the New York state government has paid and continues to pay

the claims that would not have been paid but for the acts and conduct of Defendants.

       117.    By reason of Defendants’ acts, the State of New York has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial.

                                      COUNT V
                             RETALIATION (31 U.S.C. § 3730(h))

       118.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       119.    By virtue of the acts alleged herein, Defendants threatened, harassed, and/or

dismissed, and/or discriminated against, Relator in the terms and conditions of her employment

after she lawfully reported what she believed to be fraudulent conduct or wrongdoing to her

superiors and corporate representatives in violation of 31 U.S.C. § 3730(h).

       120.    Relator seeks compensatory damages and other appropriate statutory relief

pursuant to this section.




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                                    PRAYER FOR RELIEF

       WHEREFORE, for each of these claims, the Qui Tam Plaintiff requests the following

relief from each of the Defendants, jointly and severally, as to the federal claims:

       a.      Three times the amount of damages that the Government sustains because of the

acts of Defendants;

       b.      A civil penalty of $11,000 for each violation;

       c.      An award to the Qui Tam Plaintiff for collecting the civil penalties and damages;

       d.      Award of an amount for reasonable expenses necessarily incurred;

       e.      Award of the Qui Tam Plaintiff’s reasonable attorneys’ fees and costs;

       f.      Interest;

       g.      Such relief as is appropriate under the provisions of 31 U.S.C. § 3730(h) of the

False Claims Act for retaliatory discharge, including: (1) two times the amount of back pay with

appropriate interest; (2) compensation for special damages sustained by Relator in an amount to

be determined at trial; (3) litigation costs and reasonable attorneys’ fees; (4) such punitive

damages as may be awarded under applicable law; and (5) reasonable attorneys’ fees and

litigation costs in connection with Relator’s Section (h) claim;

       h.      Such further relief as the Court deems just; and

       WHEREFORE, for each of these claims, the Qui Tam Plaintiff requests the following

relief from each of the Defendants, jointly and severally, as to the New York claims:

       a.      Relator and the State Plaintiff be awarded statutory damages in an amount equal

to three times the amount of actual damages sustained by New York as a result of Defendants’

actions, as well as the maximum statutory civil penalty for each violation by Defendants within

New York, as provided by N.Y. Fin. Law § 189.1(g);



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       b.     Relator be awarded her Relator's share of any judgment to the maximum amount


provided pursuant to N.Y. Fin. Law§   190.6;

       c.     Relator be awarded all costs and expenses associated with each of the pendent


State claims, plus attorn�y's fees as provided pursuant to N.Y. Fin. Law§   190.7;   and


       d.     Relator and the Plaintiffs be awarded such other and further relief as the Court


may deem to be just and proper.


                               DEMAND FOR JURY TRIAL


       Relator hereby demands trial by jury.




Dated: February 2, 2015                          Respectfully submitted,

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